JS 440/SDNY ClV|L COVER SHEET

REV. 06/01/17
The JS-44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or
other papers as required by law, except as provided by local mles of court. This form. approved by the Judicial Conference of the
United States in September 1974, is required for use of the Clerk of Court for the purpose of initiating the civil docket sheet.

PLA|NT|FFS DEFENDANTS

Jane Doe, Luke Loe, Richard Roe, and Mary Moe, individually and on The Trump Corporation, Donald J. Trump, Donald Trump, Jr., Eric Trump,
behalf of all others similarly situated and lvanka Trump

ATTORNEYS (FlRM NAME, ADDRESS, AND TELEPHONE NUMBER ATTORNEYS (|F KNOWN)

Kap|an Hecker & Fink LLP, 350 Fifth Avenue, Suite 7110, New York NY
10118, (212) 763-0883; Emery Ce||i Brinckerhoff & Abady, 600 Fifth
Avenue, 10th F|oor, New York NY 10020, (212) 763-5000

CAUSE OF ACT|ON (C|TE THE U.S. C|V|L STATUTE UNDER WH|CH YOU ARE F|L|NG AND WR|TE A BR|EF STATEMENT OF CAUSE)
(DO NOT C|TE JUR|SD|CT|ONAL STATUTES UNLESS D|VERS|TY)

18 U.S.C. 1962(0); 18 U.S.C. 1962(d); 28 U.S.C. 1332

Judge Previously Assigned
Has this action, case, or proceeding, or one essentially the same been previously filed in SDNY at any time? No -Yesm

|f yes, was this case Vol. |:| lnvol. |:] Dismissed. No |:] Yes |:] lf yes, give date & Case No.
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REAL PROPERTY

Check if demanded in complaint
DO YOU CLAlM TH|S CASE |S RELATED TO A ClV|L CASE NOW PENDlNG |N S.D.N.Y.

 

 

 

 

v CHECK |F TH|S |S ACLASS ACT|ON AS DEF|NED BY LOCAL RULE FOR D|V|SlON OF BUS|NESS 13?
UNDER F.R.C.P. 23 lF SO, STATE:
DEMAND $ OTHER JUDGE DOCKET NUMBER

 

Check VES only if demanded fn complaint
JURY DEMAND: \Xl YES 1340 NOTE: You must also submit at the time oft”iling the Statement of Relatedness form (Form lH-32).

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Proceeding State Court from Reopened ( liech ls " ) (Tramferred) Magistrate Judge

Appellate
m a, all parties represented Court

|:l 8 Multidistrict Litigation (Direct File)
|:\ b_ At least one party

is pro se.
(PLACE AN X lN ONE BOX ONLW BAS|S OF JUR|SD|CT|ON lF olvERsITY, lNDIcATE
|:| 1 u.s. PLAiNTiFF |:]2 u.s. DEFENDANT |X| 3 FEDERAL QuEsTioN |:|4 DivERsiTY CITIZENSHIP BELOW.

(U.S. NOT A PARTY)

C|TIZENSHIP OF PR|NC|PAL PART|ES (FOR D|VERS|TY CASES ONLY)

(Place an [X] in one box for Plaintiff and one box for Defendant)

PTF DEF PTF DEF PTF DEF

C|T|ZEN OF TH|S STATE [ ] 1 [ ] 1 C|TIZEN OR SUBJECT OF A [ ]3[ ]3 lNCORPORATED and PR|NC|PAL PLACE [ ]5 [ ]5
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PLA|NT|FF(S) ADDRESS(ES) AND COUNTY(|ES)

DEFENDANT($) ADDRESS(ES) AND couNTv(iEs)

DEFENDANT(S) ADDRESS UNKNOWN

REPRESENTAT|ON |S HEREBY MADE THATl AT TH|S TlME, l HAVE BEEN UNABLE, WlTH REASONABLE D|L|GENCE, TO ASCERTA|N
THE RES|DENCE ADDRESSES OF THE FOLLOW|NG DEFENDANTS:

COURTHOUSE ASS|GNMENT
l hereby certify that this case should be assigned to the courthouse indicated below pursuant to Local Rule for Division of Business 18, 20 or 21.

checkone: THisAcTio H UL BEASS\GNEDTO: |:|WH|TE PLA|NS |X| MANHATTAN

 

DATE 10/29/18 S|GNATURE F ATTORNE¥ OF RECORD Aoivin'rED To PRAcTicE iN Ti-iis DisTRicT

l 1 NO

[x1 YES(DATE ADMlTTED Mo.05 Yr. 1993 )
RECE|PT # Attorney Bar Code # RK3771
Magistrate Judge is to be designated by the Clerk of the Court.
Magistrate Judge is so Designated.

 

Ruby J. Krajick, Clerk of Court by Deputy Clerk, DATED

UNITED STATES D|STR|CT COURT (NEW YORK SOUTHERN)

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